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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA.
No. 1:21-cr-00040

Plaintiff.
V. HON. ROBERT J. JONKER
Chief United States District Judge

LEESA BETH VOGT, a/k/a “Lis Bokt,”
a/k/a “Moose,”

Defendant.

 

PLEA AGREEMENT

This constitutes the plea agreement between Leesa Beth Vogt and the United States
Attorney’s Office for the Western District of Michigan. The terms of the agreement are as
follows:

dh, The Defendant Agrees to Plead Guilty. The defendant agrees to plead guilty
to Count 19 of the Indictment. Count 19 of the Indictment charges the defendant with
structuring in violation of Title 31, United States Code, Section 5324(a)(3), (d).
2 The Defendant Understands the Crime. In order for the defendant to be guilty

of violating Title 31, United States Code, Section 5324(a)(3), (d) the following must be true:

a. First, the defendant engaged in acts of structuring.
b. Second, the defendant knew that the financial institutions involved were

legally obligated to report currency transactions in excess of $10.000.

c. Third, the defendant acted with the intent to evade this reporting

requirement.
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d. Fourth, the defendant did so while violating another law of the United
States or as part of a pattern of illegal activity involving more than $100,000 in a 12-month
period.
The defendant is pleading guilty because the defendant is guilty of the charge described above.
3 The Defendant Understands the Penalties. The statutory maximum sentence

that the Court can impose for a violation of Title 31, United States Code, Section 5324(a)(3). (d)
is the following:
a. not more than ten years of imprisonment:
b. not more than three years of supervised release:
é. a $500.000 fine: and
d. a $100 mandatory special assessment.
The defendant agrees to pay the special assessment at or before the time of sentencing unless the
defendant affirmatively demonstrates to the Court that she lacks the ability to pay.
4. Supervised Release Defined. Supervised release is a period of time following
imprisonment during which the defendant will be subject to various restrictions and
| requirements. The defendant understands that if she violates one or more of the conditions of
any supervised release imposed, she may be returned to prison for all or part of the term of
supervised release, which could result in the defendant serving a total term of imprisonment
greater than the statutory maximum stated above.
5. Asset Forfeiture and Financial Accountability. The defendant agrees to
forfeit all right, title, and interest in all virtual currency accessible from wallets associated with

two Trezor devices seized from The Geek Group on December 21, 2018, comprising at least

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0.365 BTC. The defendant admits that Christopher Boden used the Trezor devices to commit
the structuring offense charged in Count 19 and that the Trezor devices and the 0.365 BTC
represent property traceable to the offense. The defendant consents to the entry of a preliminary
order of forfeiture at or before the time of sentencing forfeiting the two Trezor devices and the
bitcoin contained therein. The defendant further agrees to the entry of a forfeiture money
judgment in the amount of $62,711, which represents the money involved in the offense to which
she is pleading guilty.

6. Factual Basis of Guilt. The defendant and the U.S. Attorney’s Office agree
and stipulate to the following statement of facts which need not be proven at the time of the plea
or sentencing, and which does not include all of the facts underlying the defendant’s guilt:

a. The defendant was the executive director at The Geek Group. ‘There she
worked with the President, Christopher Allan Boden, a/k/a “Captain,” a consultant, Daniel
Reynold DeJager, a/k/a “Daniel Reynold.” a/k/a “Daniel Miester,” a/k/a “Danichi.” and Jeremy
Swink, among others. Swink was the defendant’s subordinate, and she directed Swink as part of
her responsibilities at The Geek Group.

b. The defendant deposited proceeds from the sales of bitcoin at The Geek
Group in a Chase Bank account with account number ending in 6810. The defendant
intentionally deposited less than $10,000 each day that deposits were made for the purpose of
avoiding the bank filing a currency transaction report. The defendant directed Swink to do the
same.

C In total, the defendant deposited, directed the deposit of. or aided and

abetted the deposit of, more than $100,000 in a 12-month period. which included November

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2017, as part of a pattern of illegal activity. The defendant also made the deposits while
violating other laws of the United States, namely conspiracy to operate an unlicensed money
transmitting business, in violation of 18 U.S.C. §§ 371 and 1960, and operating an unlicensed
money transmitting business, in violation of 18 U.S.C. § 1960.

d. During November 2017, Vogt made. supervised. or aided and abetted 56
ATM deposits at Chase Bank totaling $62,711, each consisting of currency not exceeding
$10,000. The deposits were made at branches in Grand Rapids, Michigan. When the
defendant personally made the deposits, she notified her co-defendants on Facebook that the
deposits were made. When Swink made the deposits, he notified the defendant and the other
co-defendants on Facebook that the deposits were made. The defendant knew that the deposits
were to be used by DeJager to purchase more bitcoin, which he would then transfer to Boden to
sell, or for other staff members at The Geek Group to sell.

7. The United States Attorney's Office Agrees.

a. Dismissal of Other Counts/Charges. The U.S. Attorney’s Office
agrees to move to dismiss the remaining counts of the Indictment against the defendant at the
time of sentencing. The defendant agrees, however, that in determining the sentence the Court
may consider the dismissed counts in determining the applicable range under the United States
Sentencing Guidelines (“Guidelines”). where the sentence should fall within the applicable
Guidelines range, and the propriety of any departure from the calculated Guidelines range. By
this agreement the defendant does not concede that an increased sentence or an upward departure

is. in fact, warranted.
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b. Acceptance of Responsibility. The U.S. Attorney’s Office agrees not
to oppose the defendant's request for a two-level reduction of her offense level for acceptance of
responsibility under Section 3E1.1(a) of the Guidelines. However, the U.S. Attorney’s Office
reserves the right to object to the defendant’s request if it subsequently learns of conduct by the
defendant that is inconsistent with the criteria set forth in the Commentary to Section 3E1.1.
Should the Court grant a two-level reduction as provided herein, the U.S. Attorney’s Office will
move the Court to grant an additional one-level reduction if the adjusted offense level is 16 or
greater pursuant to Section 3E1.1(b).

8. The Sentencing Guidelines. | The defendant understands that, although the
Guidelines are not mandatory, the Court must consult the Guidelines and take them into account
when sentencing the defendant. The defendant understands that the Court, with the aid of the
presentence report, will determine the facts and calculations relevant to sentencing. The
defendant understands that the defendant and the defendant's attorney will have the opportunity
to review the presentence report and to make objections, suggestions, and recommendations
concerning the calculation of the Guidelines range and the sentence to be imposed. The
defendant further understands that the Court shall make the final determination of the Guidelines
range that applies in this case, and may impose a sentence within, above, or below the Guidelines
range, subject to the statutory maximum penalties described elsewhere in this agreement. The
defendant further understands that disagreement with the Guidelines range or sentence shall not
constitute a basis for withdrawal of the plea.

9. There is No Agreement About the Final Sentencing Guidelines Range. The

defendant and the U.S. Attorney’s Office have no agreement as to the applicable Guidelines

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factors or the appropriate Guidelines range. Both parties reserve the right to seek any sentence
within the statutory maximum. and to argue for any criminal history category and score, offense
level, specific offense characteristics, adjustments, and departures.

10. Waiver of Constitutional Rights. By pleading guilty, the defendant gives up

the right to persist in a plea of not guilty and the right to a speedy and public trial by jury or by

the Court. Asa result of the defendant’s guilty plea, there will be no trial. At any trial, whether

by jury or by the Court, the defendant would have had the following rights:

a. The right to the assistance of counsel, including, if the defendant could not
afford an attorney, the right to have the Court appoint an attorney to represent the defendant.

b. The right to be presumed innocent and to have the burden of proof placed
on the government to prove the defendant guilty beyond a reasonable doubt.

C: The right to confront and cross-examine witnesses against the defendant.

d. The right, if the defendant wished. to testify on the defendant’s own behalf

and present evidence in opposition to the charges, including the right to call witnesses and to

subpoena those witnesses to testify.

&) The right not to be compelled to testify, and, if the defendant chose not to
testify or present evidence, to have that choice not be used against the defendant.

f. By pleading guilty, the defendant also gives up any and all rights to pursue
in this Court or on appeal any affirmative defenses. Fourth Amendment, or Fifth Amendment

claims, and other pretrial motions that have been filed or could be filed.
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11. Waiver of Other Rights.

a. FOIA Requests. The defendant hereby waives all rights, whether
asserted directly or by a representative, to request or receive from any department or agency of
the United States any records pertaining to the investigation or prosecution of this case. including
without limitation any records that may be sought under the Freedom of Information Act. 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

b. Hyde Waiver. The defendant acknowledges, by her voluntary
admission of guilt, that the position of the U.S. Attorney’s Office in this case is not vexatious,
frivolous, or in bad faith, and she hereby disclaims and waives any right to make any claim for

attorney fees,

12 The Court is Not a Party to this Agreement. The defendant understands that

the Court is not a party to this agreement and is under no obligation to accept any
recommendation by the U.S. Attorney’s Office or the parties regarding the sentence to be
imposed. The defendant further understands that, even if the Court ignores such a
recommendation or imposes any sentence up to the maximum established by statute, the
defendant cannot, for that reason, withdraw her guilty plea, and she will remain bound to fulfill
all her obligations under this agreement. The defendant understands that no one—not the
prosecutor, the defendant’s attorney, or the Court—can make a binding prediction or promise
regarding the sentence the defendant will receive, except that it will be within the statutory
maximum.

13. This Agreement is Limited to the Parties. This agreement is limited to the

U.S. Attorney's Office for the Western District of Michigan, and cannot bind any other federal,

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state. or local prosecuting, administrative, or regulatory authority. This agreement applies only
to crimes committed by the defendant. This agreement does not apply to or preclude any past.
present, or future forfeiture or civil actions.

14. Consequences of Breach. If the defendant breaches any provision of this
agreement, whether before or after sentencing, the United States shall have the right to terminate
this agreement, or deny any or all benefits to which the defendant would otherwise be entitled
under the terms of this agreement. In the event that the United States elects to terminate this
agreement, the agreement shall be considered null and void, and the parties shall return to the
same position they were in prior to the execution of this agreement, as though no agreement ever
existed. In such an event, the defendant shall remain liable for prosecution on all original
charges, and the United States shall be free to bring such additional charges as the law and facts
warrant. The defendant further agrees to waive and forever give up her right to raise any claim
that such a prosecution is time-barred if the prosecution is brought within one (1) year of the
breach that gives rise to the termination of this agreement.

15. This is the Complete Agreement. This agreement has been entered into by
both sides freely. knowingly, and voluntarily, and it incorporates the complete understanding

between the parties. No other promises have been made, nor may any additional agreements.
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understandings. or conditions be entered into unless in a writing signed by all parties or on the

record in open court.

ANDREW BYERLY BIRGE
ited States Attorney

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STIN M. PRESANT ©
Assistant United States Attorney

 
   
  

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Date [ {

] have read this agreement and carefully discussed every part of it with my attorney. |
understand the terms of this agreement, and I voluntarily agree to those terms. My attorney has
advised me of my rights, of possible defenses, of the sentencing provisions, and of the
consequences of entering into this agreement. No promises or inducements have been made to
me other than those contained in this agreement. No one has threatened or forced me in any
way to enter into this agreement. Finally, 1 am satisfied with the representation of my attorney

in this matter.

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Date LEESA BETHWOGT
Defendant

I am Leesa Beth Vogt’s attorney. I have carefully discussed every part of this agreement
with my client. Further, I have fully advised my client of her rights, of possible defenses, of the
sentencing provisions, and of the consequences of entering into this agreement. To my
knowledge, my client’s decision to enter into this agreement is an informed and voluntary one.

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Date se GEORGE BORGULA

 

 

Attorney for Defendant

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